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RON    A,    COHEN                                  December 11, 2020

            The Honorable Edgardo Ramos
            United States District Court Judge, Southern District of New York
            Thurgood Marshall United States Courthouse
            40 Foley Square, Courtroom 619
            New York, New York 10007

                     Re: United States of America vs. Mark Scott
                         Case No. S617 Cr. 630

            Dear Judge Ramos:

                    As your Honor may recall, I represent Marietta Halle, the benefactor who, among other
            things, was the source of the Seven Hundred Fifty Thousand Dollars ($750,000.00) cash that
            allowed the Defendant to meet the conditions of his pretrial release in the above referenced
            matter. On May 11, 2020, the Court granted Ms. Halie's Motion for Exoneration of Bond (Exhibit
            1 ).

                    It has come to our attention, as part of the post-conviction forfeiture litigation in the
            instant matter, that Mr. Scott now seeks access to various UBS accounts, which the
            Government seeks to preclude. Ms. Halle supports the Government's position and wants to
            advise the Court that she holds a security interest in one of the UBS accounts in particular.

                  As collateral for a $500,000.00 loan extended to Mr. Scott by Ms. Halle, the proceeds of
        which were used to engage Mr. Scott's present counsel, Ario Devlin-Brown (alluded to in
        paragraph seven (7) of the Declaration of Mr. Ario Devlin-Brown in support of his opposition to
        the Government's post-conviction Restraining Order request), Mr. Scott pledged the proceeds of
        one of the specific accounts held at UBS. Ms. Halle has pending in the Circuit Court for Miami-
        Dade County, Florida, a Complaint against Mr. Scott seeking a judgment on that note (Exhibit 2;
        'I[ 13, et seq. and Exhibit B).

                Should the Court grant Mr. Scott access to that account, no doubt, he will diminish if not
        outright plunder the money and Ms. Halle shall, once again, be victimized by Mr. Scott but, in
        addition, Ms. Halle will be denied basic due process as it relates to her security interest in that
        account.




                                                                                     Neil G. Taylor
